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                             EXHIBIT A
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  Small Claims Court        Adams County, Colorado           County, Colorado
  Court Address:
   Adams Combined Courts, 1100 Judicial Center Drive, Brighton, CO 80601, 303-654-3335

  PLAtNTtFF(S): -,-,
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     Phone.            _ _ _ _ _ Wor _ _ _ _ _ _ Cell1O ~                .,
            .                                                 o V,J Z'I l) u 923
     v.
     DEFENDANT(1): .p..-;,-,,~-,.,,,,,.,.-."1-.,,..,,,,-,-,rr7-~,,-,;,...,-,....-;;-;----r-;r,7<
                        L F/rt ':'{..II' l'lf                                                              ,6. COURT USE ONLY
     Address:            _
               JD ~ t.> V/       I J '-' l'IV ,v , I i)             / < I.)                               Case Number:
     City/State/Zip: q,                                                ,::;,,-, ,
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     Phone: Home                 ..            Work O ., .. ,:; , , , , 7 8ell ~·_ _ _ __
                                                    O ~ ¥ "t VI O1
                                                                  11
     DEFENDANT(2):

     Address:-----~-----------------
     City/State/Zip: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Phone: Home _ _ _ _ _ _ Work _ _ _ _ _ _ Cell______                                                          ,--
                                                                                                          Division ,    Courtroom       'V
                         NOTICE, CLAIM AND SUMMONS TO APPEAR FOR TRIAi:- 1,>art 2                                                   ..-'-J..o
If Defendant(s) is/are other than a person, go on-line at wwW.sos.state.co.us to determine the registered agent for
service of this notice. Please enter name and address of the agent. Name: ;, ,- • .                   .                 .
Address:,'.?     , ~     . , .. ,,<ti< • . . •              _        ,::, .      ~. I "..'-lA<I 01·11 v!(_c ;, .////(.
               vbvvv111 1,.- nv£10or:;f'dn• b,b1176;r;vN1 C ucu11/J/1v .JuoD1
1. The Defendant(s) is/are in the military service:. □Ye,, ~Jo OUnknown
2. The Defendant(s) reside(s), is/are regula;ly emµloyed,'tias/have an office for the transaction of business, or is/are
     a student in this county, or real property lOC'1t0d in U,is county is the subject of claim(s) arising from a restrictive
          covenant or security deposit dispute. \:)!.Yes ONo
 3. INo/e understand that it is my/our responsibility to have each Defendant served with the "Defendant's Copy" of
          this Notice by a person whose age is 18 years or older and who is not a party to this action 15 days prior to the
          trial and to provide the Court with written proof of service. ~es □ No
4.        I am an attorney: □Yes              No




Plaintiff(s)'s Claim (Please summarize reasons to support your claim below.)
The Defendant(s) owe(s)me $          I f9n. {) p. which includes penalties; plus interest and costs allowed by law, and/or should
be ordered to return property, perfofrii a contract or set aside a contract or comply with a restrictive covenant for the following
reasons. (If seeking return .of property, please describe the property being requested).
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    ote: The combined value of money, property, specific performance or cost to reme _ya covenant-v1olatlon cannot exceed ,500.00. ,.
 I/we declare under penalty of perjury under the law of Colorado that the foregoing is true and correct. I/we have not
 filed in any Small Claims Court In this County more than 2 claims during this calendar month, nor more than 18 claims
 in this County in this calendar year.                                                  ,     /          /                          $J i/ 3 7q
                                                                                                                                    ,2.
 Dated:       '!>'              . , .                                                      /        ,,,N~?/ '?,tr'.                        ~
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 JDF 250SC           R2-20 (PART 2/ PAGE 2)              NOTICE, CLAIM AND SUMMONS TO APPEAR FOR TRIAL
              Case 1:22-cv-01046 Document 1-1 Filed 04/29/22 USDC Colorado Page 3 of 7

                                                                         I •      reverse side of Defendant's copy and bring to Court.
                                                                                                                                                -. - - -      -- --· - -   ~-.,
             You must complete and fill out a response and or co~nter~ aim on I d        t     the Plalntiff(s) or am not responsible to the
             Defendant's Response (If responding, pay the appropnate filing fee).    o no owe
             Plaintiff(s) because:




              Defendant's Counterclaim (If submitting a counterclaim, pay the appropriate filing fee). d          Is II   d by I        d/ r should be
              The Plaintiff(s) owe(s) me$,_ _ _ _~--•• which includes penalties, plus l~terest an ~os a owe                      aw an                    ?
              ordered to return property, perform a contract or set aside a contract or comply with a restrictive covenant for the following reasons.
              (If seeking return of property, please describe the property being requested).




              □     The amount of my/our counterclaim does not exceed the jurisdictional amount of the S'."all Claims Court of ~7,500.0?.
              □     The amount of my/our counterclaim exceeds the jurisdictional amount of the Small Claims Court, but I/we wish to limit the
                    amount that I/we wish to recover from the Plaintiff to $7,500.00,
              □     The amount of my/our counterclaim exceeds the jurisdictional amount of the Small Claims Court, and I/we wish to have th_e
                     case sent to □ County court (only if I/we wish to limit the amount I/we can recover from the plaintiff to $15,000.0_0) □ District
                     court (I /we do not wish to limit the amount I/we can recover from the Plainliff(s)) and will p~y the appropriate filing fee. I/we
                     am/are filing a Notice of Removal and paying the appropriate filing fee to the Court at this time.
              I am an attorney.          □Yes □ No                                                                   .                                                 .
              1declare under penalty of perjury that this information is true and correct and that I mailed a copy of the Response/Counterclaim
              to the Plaintiff(s) at the address(es) stated on this form on _ _ _ _ _ _ _ _ _ (date).

                                                                                    Defendant's Address

               Defendant's Signature                     Date                       Telephone#: Home                           Work                Cell
                                                       Information for IJefendants in Small Claims Cases
               A.   Filing Fees.
                    Response without a counterclaim:
                    ♦   Claim $500,00 or less: $26.00                         ♦   Claim over $500.00 but less than $7,500.00: $41.00
                    Response with a counterclaim:
                    +    If Plaintitrs claim is $SOD.DO or less and counterclaim is $500.00 or less:                                                       $31.00
                    ♦    lf Plaintiffs claim is more than $SOD.OD or counterclaim is more than $500,00:                                                    $46.00
               B.   Response. You have been served with a Summons. If you fail to appear on the trial date shown on•this notice, judgment may be entered
                    against you. If you wish to defend the claim or present a counterclaim, you must file with the Court Clerk a written response or
                    counterclaim on or before the scheduled trial date, provide a copy to the Plalntiff{s), pay the appropriate nonrefundable filing fee, and
                    appear on the date set for trial in this notice with all evidence and witnesses needed to establish your defense.
               C.   Subpoenas. Upon your request, the clerk will Issue a subpoena to require witnesses to appear or bring documents for your trial. It is your
                    responsibility to complete the information needed on the subpoena and to have the subpoena served. Subpoenas must be served personally
                    and may be served by a person overlhe age of 18 that is not a party to the case. Subpoenas must be accompanied by a check for payment
                    of witness fees and mileage for any witnesses served.
               D.   Counterclaim. If you have a claim against the Plalntiff(s), you must file with the Court clerk the Defendant's counterclaim at the top of this
                    form, provide a copy of the counterclaim to the Plaintiff(s) prior to the trial, anJj pay the appropriate nonrefundable filing fee. tr you settle
                    your counterclaim before trial, notify the Small Claims Court and the Plaintiff(s) in writing. If you want your case heard by a Court of greater
                    Jurisdiction, you must complete and file this form 1 pay the appropriate filing fee (County: Under $999.99 = $85.00; $1,000 -
                    $14,999.99= $105.00; $15,000.00 - $25,000 = $135,00, District: $235,00) and file a Notice of Removal (JDF 251) at least 7 days before
                    the tr1al date shown on this Notice.
               E.   Trial Responsibility. You have a right to a trial. Bring all evidence necessary to establish your defense and/or counterclaim: books, papers,
                    repair bills, photographs or other exhibits. If the suit involves the delivery of personal property, be prepared to deliver the property immediately
                    after trial. Be on time. If you are late, the Court may enter judgment against you.
               F.   Appeal. If you wish to appeal, you must file your notice of appeal within 14 days of the Judgment and proceed according ta C.R.C.P 411.
               G.   Judgment The Court does not collect any Judgment, but Will help with the necessary forms.
                    Money Judgment. If judgment is entered against you, you are expected to immediately pay the judgment, including filing fees and court
                    costs. 1r the judgment is not paid immediately, you must answer questions about your assets and income and the other party can obtain a
                    writ of garnishment or execution against your wages or property. Once the judgment Is paid, you are entitled to have the judgment satisfied..
                    Non-monetary ~udgment. If the Court orders Immediate possession of the property, perfonnance of a contract, setting aside of a contract
                    or compUance with a restrictive covenant, your failure lo comply with the Court order may result In an award of damages and/or being held
                    In contempt
               H.   Case Inquiries. When Inquiring about this case, refer ta the case number an this notice. Direct all Inquiries to the clerk, not the judge or
                    maglslrate.
               I.   Attorney, If you want to be represented by an attorney, you or your attorney must flle a Notice of Representation of Attorney (JDF 256) at
                    least 7 days before the lrtal dale on this notice. Then the Plalnllff(s) may have representation by an attorney, If the Plalnliff(s) ls/are an
                    attorney, you also may be represented by an attorney without flllng a notice of representation. Even If there are attorneys In the case, the
                    rules and procedures of the Small Claims Court will still apply,
               J.   Judicial Officer. A magistrate or a Judge may hear your case. If you want a judge to hear your case you must file an Objection to a
                    M_agistrate Hearing Case (JDF 250) et least 7 days before the trial date set In this notice. The rules and pro~edures of the Small Clalms Court
                    Will still apply.
               K.   Language Interpreter. If you or a witness requires a language Interpreter lo be present for hearings you must contact the Managing
                    Interpreter corresponding to the district in which the case wlll be heard at least 7 days before the trla\ dat~ Is set On this notlce A language
                    Interpreter may only Interpret what Is said between parties during a hearing and Immediately prior to or after ihe hearln : A language
                    Interpreter may not provide legal advfce or any other service thal Is not related to_ Interpreting. lnte raters m                   g    Ices that
                    may constitute e violation of the language Interpreter's Code of Professional Responsibility. A cu~ent list ~y:ot pr?vldi8 tny s~rv can be
                                                                                                                                     0
                    viewed et hllp://www.courts.state.eo.us/AdmlnlstraUon/Custom.cfm?Unlt=lntem&Page 10=117.                             anaging n erpre ers

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    □District Court[8:lco·unty Court
    ADAMS County, Colorado
    Court Address:
    1100 JUDICIAL CENTER DRIVE
    BRIGHTON, CO 80601

                                                                                          COURT USE ONLY
    PLAINTIFF: TERRANCE TSCHATSCHULA

                                                                                 Case Number: 22S117
   ,DEF[:NQANT: CARGUARD ADMINISTRATION INC
                                                                                 Division S1 Courtroom 306

                             CASE MANAGEMENT ORDER, SMALL CLAIMS COURT
 The Plaintiff filed a small claims case against the· Defendant seeking money. The Plaintiff and the Defendant are
 the parties. A court date, including lime, has been scheduled with the Court (trial d11te). Your Trial has been set
 for virtual trial via WebEx. If your case Is being heard digitally the virtual courtroom will be open lo the public.
                                                                                                                            '
 lnforma_tion and orders for small claims parties:
                                                                                                                           j
                                                                                                                             i
            1. Written Agreement /by Plaintiff and Defendant): The parties are required lei talk with each other
               before the trial date to see if an agreement can be reached to resolve the case. This may include            Ii
               how much money is owed and when/how t'le money will be paid. Written agreements shall be filed.
               with the Court al least 7 days before Uie ~heduled trial. dale. Written agreements can be filed in-
               person al thei Clerk's window or mailed lo: Adams Combined Court, 1100 Judicial Center Drive,
               Brighton, CO 80601. Blank agreement forms JDF 75,(called slipulations).are on .the Court's website:_
           2. Proof of Service: Proof of Service also referred lo as Return of Service, is the official means by which
              the Notice, Claim and Summons lo Appear forTrial and a copy of this Case Management Order is
              served to the, Defendant to notify him/her that a lawsuit has been filed. Service must be completed at
              least 15 days before the trial <jate. An Affidavit of Service (pg. 7 of form JDF 250) will need to be
              completed·by whoever is serving the-paperwork. Once service is completed, you must file your Proof
              of Service with the Court, no later than 7 days before the trial date. You may file this document in-
              personor mail to: Adams Combined. Court, 1100 Judicial Center Drive, Brighton, CO 80601.
                     a.   If the Defendant has not been served with the paperwork at least 15 days before the trial
                          date, you may ask the court for another trial date lo serve the Defendant. If the Defendant
                          has been served, request(s) for another trial date shall be filed no later than 7 days ·
                          before the scheduled trial date.

           3. Answer and Counterclaim /by Defendant): If the Defendant disagrees with the claim and/or wants t_o
              file a counterclaim; and an agreement is not reached, each Defendant should file with the,-Court, a·
              written Ans_vier and any counterclaim 7 days before the scheduled trial dale and pay the filing fee ..
              The Answer and Counterclaim form, JDF 250 (R2-20, Part 2, pages 2-3) can be found on our
              website under Self Help/Forms: www.courts.state.co;us. A blank Answer form is part of the                     ,
              paperwork·provided to the Defendant at the lime of service. Each Defendant shall provide their                1

              address, phone number and email address when fillng their answer. -                                           j
                     a.   The.Answer form must be completed including why you don't think you owe the money.. , -
                                                                                                                            1
                     b. Any counterclaim must Include how much money Is being sought and for what reason.                  _j
                     c.   The Answer form should be filed with the Court 7 days before the trial date, and a copy
                          malled to the Plaintiff, 7 days before the trial date,




                                                                  ----·-·....-.---~ ~----..__. . . . --,---1--,~.P-;:c•/
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Small ciolms CMO CV 6 ·Rcv, 10,25,Zl
      Case 1:22-cv-01046 Document 1-1 Filed 04/29/22 USDC Colorado Page 5 of 7
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               4.     Trial: All exhibits shall be filed with the court and copies of the exhibits malled to the other
                      party no later than 7 days prior to the scheduled court date. All exhitlits ~~all have the case . . .
                      n\Jmber listed and be.labeled before you send them.to the court and the other side. Plaintiffs shall use
                      numbers {for example "P-1", "P-2", "P-3" etc.). Defendants shall use the letters, {for example, "D-A",
                      "D-B", "D-C" etc.). If an exhibit Is 3. pages long, each page should be labeled accordingly. For a
                      plaintiff, P-1,1, P-1-2, P-1-3, or for a defendant D-A1, D-A2, D-A3. Each page of each exhibit needs
                      a label so that during the hearing a specific page of any document can be referred to by that label. If
                      you have audio and video evidence to present at trial, the Court cannot accept or play such,
                      therefore, you must be able to share that via WebE;x on your own device and you must mail a copy of
                      the audlo•and video exhibit on a thumb drive to !he other side 7 days before the scheduled trial date:
                      In order to present any video or audio evidence at trial, you must be able lo share ii via WebEx during
                      trial. You should familiarize yourself with how to share content on the WebEx platform before trial.
                      Failure to comply may result In a continuance of your trial date, or the court not. reviewing or
                      accepting your exhibits. All Items may be submllled as Indicated In paragraph 9 below.

                5.    Time Allotted for the Trial: Trials are set for 30 minutes with each side having up to 15 minutes lo
                      present their case, Including witness testimony. Please plan accordingly.

                6.    Attending virtual court: You will need a computer, smart device, or a phone to' attend. If you are
                      calling-witnesses to testify, you need to provide the link and instructions on how to appear to your
                      witness{es).- Please mute your mlclphone until your lime to speak. The virtual courtroom for
                      Division S1: https://judicial.webex.com/meet/magistrate~kossie or call: ·1-720-650-7664 and use
                      meeting access number: 928 183 673. To access the digital courtroom via I-phone or android, the
                      WebEx Meetings application must first be installed on the device. When accessing the virtual .
                      courtroom,.please be patient. The judir.ial officer may be hearing another case but will be with you as·
                      soon as possible .

               . 7.   Request fornew scheduled trial date: Any request for a new court date must be filed at the
                      Clerk's window (form JDF 76) or mailed to: Adams Combined Court, 1100 Judicial Center Drive,
                      Brighton, CO 80601 at.least 7 days before the scheduled court date and provided to the other
                      side. The Court will decide on th_e· request and notify both parties of its decision.

                8.    Interpreters: If you require a language interpreter,. you must submit your request at the Clerk's window
                      30 days prior to your trial date. A court-appointed interpreter will be scheduled to assist you at no
                      charge. Per Chief Justice Directive 06-03, interpreters must be on the roster of Colorado Judicial
                      Depar:tment Authorized Interpreters to provide interpreter services for the Courts.

                9.    Methods to file documentswith the Court:

                          a.   Send documents by US MaU at least 7 days prior to the trial date to: Adams Combined Court,
                               11 QO Judicial Center Drive, Brighton, CO 80601 and list your .case number on the front of the
                               envelope. Please_ do not'send cash. Check website for the appropriate filing fee and make
                               check or money order payable to: Adams Combined Court: https://www.courts.state.eo.us/
                               and search for Filing Fe~s.
                          b.   File the documents In-person at: 1100 Judicial Center Drive, Brighton, CO 80601.



             IMPORTANT: Ail documents submitted to the Court must include case number, printed
                names and signatures, current phone numbers, mail and email addresses of all
                ·               persons/altor,neys submitting the document.




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                              . ;•EXPECTATIONS AND ORDERS'Of THE COURT> /
                              '       ·:                  .·    '                           '   '                ~--'             -   -   ,.   •        .   'j




      •     Audio and/or vi~~o recording of any portion by any ~eans ~fa heari~g is stricily prohibited. Violation of
            this prohibltlon·r;i,ay result in lhe'lmposltlon of sanctions Including contempt 9f court.

      •      Virtu~I h~arlngs. ~re considered court: pro~~edlngs anil ~II ~articipa~ts should' behave ap~ropriately.
              Participants should be properly dressed and keep their surroundings quiet and-Well-lit with a minimum of
                                                                                                                                                                                 >.:.
             distractions. Please make sure your electronic devices are·functlonlng correctly and you have an
            ·.adequate Internet connection.                                                                     ·

     ·• Attorneys shall fprward virtual courtroom ln(ormatlon to their clients and any witnesses. The Court will
       • , post the virtual courtroom Information on the public dockets· and on the courtroom door and will also ,                                                                 <
           provide the information to any member of the public upon request. It Is the responslbllityof the parties to,
           ensure any witnesses have the necessary contact Information.                                    ·

      f ,. Any subpoenas served shall have. a ·copy of this Order att;iched.
                                                                      . .
             <            •                                    "•       e       ,   '                     ,,                  •            ,   , .- ' ,          <   c   •   '   • 'w

      •     Parties shall log: in/call at the scheduled hearing time. Wheti entering the virtual courtroom, mule your
            device and do not interrupt any ongoing proceeding Oust like an In-person courtroom). Please wait to. be
            acknowledged by the Court or its staff•

     . • ' An audio.recor~i>f the proceedlngs-~ill be maintained by tlie:court:

      •' 'II Is importanU~al only one person speak al a time., The Cpurt will call on you .lo speak. If you-are having
          trouble·he·aring; please raise your hand to alart !he Court. · •      ,       •         ,_,           ·

    . •, It is important that_youJa~ the,camera and speak lrito the, 111icrophone or close, \o the_,phone to be heard
      · .''and f<:>r the recording to pick up your'voice: Please speak loudly and clearly:·. ·.. ·                ••

  · ' •• If an interpreter Is presentfor a participant,' speak<;!~~ must allow the interpreter to render their ·
         interpretation a,f!_er each person. speak_s to avojd confusion ~nd keep a clear .record.
                   •              '        .   ,   ', -             '       '           '           "   • • . '.! ,,.
   .· 'e:
                                                                                                                        ·,1                        -~       • ,•

              Background nols~, inciuding side conversations !3nd :p.aper'shuflling, must be '1<ept to 'a minimum_. K!'lep
          , · your microphone muted unle5.s you are speaking.            ·                      ·

      •     Do not use the chat functiori for any purpose.




 Dated: _ _1~0=/2=5=/2~1_ _ _ _ __
                                                                                                               9hlef Judge




' Small Claims CMO CV _6 Rev, 10.25,Zl
                           Case 1:22-cv-01046 Document 1-1 Filed 04/29/22 USDC Colorado Page 7 of 7


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       Ymir SMALL CLAIMS case will be heard virtually via Webex on·:
       -Date::"'' 06/08/22 · ·. ·.
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                                       . Time: 8i30 AM ·.. ·: . ·
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               ' .2)':iiY PHONE:                                                                 /iµt 720-6~0~7664 and enier-~cc~ss code.9281~3 6.7J .: ·.· . ''. ··•·
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